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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                      Plaintiff,

            v.

ROBERT F. KENNEDY, JR., in his official
capacity, and U.S. DEPARTMENT OF HEALTH
                                                              Civil Action No. 1:24-cv-3188
AND HUMAN SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                      Defendants.


 [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO STRIKE PORTIONS
  OF PROPOSED AMICUS BRIEF THAT RELY ON EXTRA-RECORD MATERIAL

        Having reviewed Johnson & Johnson Healthcare Systems Inc.’s motion to strike portions

of the Amici Curiae Brief of American Hospital Association, National Association of Children’s

Hospitals, Inc., d/b/a Children’s Hospital Association, Association of American Medical Colleges,

and America’s Essential Hospitals that rely on extra-record material, the motion is GRANTED,

and it is

        ORDERED that the portions of the brief at pages 4 and 19-23 relying on the survey results

provided by the American Hospital Association are to be stricken from the record; and it is further

        ORDERED that the amici refile their brief without the stricken portions.
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IT IS SO ORDERED.



Dated: ________________________     ________________________________
                                    HON. RUDOLPH CONTRERAS
                                    UNITED STATES DISTRICT JUDGE
